                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


 In re                                             Chapter 11

 SA Hospital Acquisition Group, LLC,               Case No. 23-11367 (BLS)

                     Alleged Debtor.               Re: Docket No. 22


                ORDER DISMISSING INVOLUNTARY CHAPTER 11 CASE

         This matter having come before the Court on the Motion to Dismiss or to Abstain (the

“Motion to Dismiss”) [Dkt. No. 22] of MorrisAnderson & Associates, Ltd. (“Receiver”), as

general receiver for SA Hospital Acquisition Group, LLC (“Alleged Debtor”) and SA Hospital

Real Estate Holdings, LLC for an order, pursuant to 11 U.S.C. §§ 303 and 305(a), dismissing the

involuntary chapter 11 case of the Alleged Debtor; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and entry of this Order

dismissing this involuntary chapter 11 case being a core proceeding within the meaning of 28

U.S.C. § 157(b)(2); and venue of this proceeding and the Motion in this District being proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

provided; and it appearing that no other or further notice need be provided; and the relief requested

in the Motion being in the best interests of the Alleged Debtor and its creditors; and this Court,

having held a hearing on September 19, 2023, has determined that the legal and factual bases set

forth in the Motion and at the hearing establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefore for the reasons stated from the bench on

September 20, 2023,

         IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:
       1.      The Motion to Dismiss is GRANTED as set forth herein.

       2.      The involuntary chapter 11 case of SA Hospital Acquisition Group, LLC is hereby

dismissed.

       3.      The Emergency Motion to Enforce the Automatic Stay [Dkt. No. 11] filed by

Goldberg Healthcare Partners, LLC, Matthew Haddad, Yoel Pesso, and Fairborz Saidara is hereby

denied as moot.

       4.      The Court retains jurisdiction with respect to all matters arising from or relating to

the implementation, interpretation, and enforcement of this Order.




Dated: September 28th, 2023                BRENDAN L. SHANNON
Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE




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